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                      7                          UNITED STATES BANKRUPTCY COURT
                                         CENTRAL DISTRICT OF CALIFORNIA – NORTHERN DIVISION
                      8
                          In re:                                                 Lead Case No. 9:20-bk-10554-DS
                      9
                          Community Provider of Enrichment Services,             (Proposed to Be) Jointly Administered With:
                     10   Inc. d/b/a CPES Inc., et al.,                          Case No. 9:20-bk-10553-XX

                     11            Debtors.                                      Chapter 11 Cases

                     12                                                          DECLARATION OF MARK G. MONSON
                          [•] Affects All Debtors                                IN SUPPORT OF EMERGENCY FIRST
                     13                                                          DAY MOTIONS
                          [ ] Affects Community Provider of Enrichment
                     14       Services d/b/a CPES Inc.
                          [ ] Affects Novelles Developmental Services, Inc.
                     15
                                   Debtors and Debtors in Possession
                     16

                     17             I, Mark G. Monson, hereby state and declare as follows:
                     18             1.        I am the President and Chief Executive Officer of Community Provider of
                     19   Enrichment Services, Inc., d/b/a CPES Inc. (“CPES AZ”) and Novelles Development Services,
                     20   Inc. (“Novelles” and, together with CPES AZ, the “Debtors” or “CPES”). I became the Debtors’
                     21   President and CEO in January 2015. I submit this declaration (this “Declaration”) in support of
                     22   the Debtors’ emergency requests for relief contained in certain “first day” motions filed in this
                     23   case (the “First Day Motions”).
                     24             2.        I have over 25 years of executive healthcare and human service experience with a
                     25   specialty focus in behavioral health, employment and developmental services, early education and
                     26   special needs education, and acute/post-acute medical rehabilitation.
                     27             3.        Prior to joining CPES, from 2012-2014, I was the President and CEO of Fairbanks
                     28   Hospital/Hope Academy in Indianapolis, Indiana. Fairbanks Hospital is a 110-bed specialty
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                      1   hospital and the oldest not-for-profit alcohol and drug treatment center in the U.S. It provides a

                      2   full continuum of care and support services for men, women, and adolescents who struggle with

                      3   addiction. Fairbanks Hospital also sponsors Hope Academy, a charter school.

                      4           4.      From 2009 to 2012, I was the Chief Operations Officer of Beaver Dam

                      5   Community Hospital in Beaver Dam, Wisconsin, where I was responsible for various hospital

                      6   operations including physician recruitment and practice management. From 2007 to 2009, I

                      7   served as the Vice President of Clinical Services and Operations for Sharp Healthcare in the San

                      8   Diego, California area, where I managed a team of more than 1,000 full time employees and was

                      9   responsible for an annual operating budget of approximately $140 million dollars. From 1996 to

                     10   2007, I was the President and CEO of Community Care Network/Rutland Mental Health Services

                     11   and from 1999 to 2007 I served concurrently as the Vice President of Clinical Operations at

                     12   Rutland Regional Medical Center in Rutland, Vermont. From 1985 to 1996, I was the Vice

                     13   President of Behavioral Health and Rehabilitative Services at Bay Regional Medical Center,

                     14   where I managed the day-to-day operations of a behavioral health service provider with 90

                     15   medical rehabilitation, psychiatric and substance abuse beds, a freestanding comprehensive

                     16   outpatient rehabilitation and wellness facility, several urgent care facilities, multiple outpatient

                     17   clinics, and physical medicine and rehabilitation product lines.

                     18           5.      I have a Bachelor of Arts degree in Psychology from the University of Minnesota

                     19   and a Master of Science degree from the University of Arizona. I am a Fellow of the American

                     20   College of Healthcare Executives, a Senior Member and Certified Quality Manager of the

                     21   American Society for Quality; and a National and State Examiner for the Malcolm Baldrige

                     22   National Quality Award Program.

                     23           6.      On April 24, 2020 (the “Petition Date”), the Debtors each filed a voluntary petition

                     24   for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the

                     25   United States Bankruptcy Court for the Central District of California, Northern Division (the

                     26   “Court”). I am knowledgeable and familiar with the Debtors’ day-to-day operations, business and

                     27   financial affairs, and the circumstances leading to the commencement of these chapter 11 cases

                     28   (the “Chapter 11 Cases”).
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                      1           7.      Except as otherwise indicated herein, this Declaration is based upon my personal

                      2   knowledge, my review of relevant documents, information provided to me by employees of the

                      3   Debtors or the Debtors’ legal advisors, or my opinion based upon my experience, knowledge, and

                      4   information concerning the Debtors’ operations and the healthcare industry. If called upon to

                      5   testify, I would testify competently to the facts set forth in this Declaration.

                      6           8.      I make this declaration for the purpose of apprising the Court and parties in

                      7   interest of the circumstances that compelled the commencement of these Chapter 11 Cases and in

                      8   support of the First Day Motions (as defined below). Any capitalized term used but not expressly

                      9   defined herein shall have the meaning ascribed to that term in the relevant First Day Motion.

                     10           9.      To enable the Debtors to minimize the adverse effects of the commencement of

                     11   these Chapter 11 Cases on their business, the Debtors have requested various types of relief in a

                     12   number of applications and motions (each a “First Day Motion,” and, collectively, the “First Day

                     13   Motions”). The First Day Motions seek relief intended to maintain the Debtors’ business

                     14   operations; to preserve value for the Debtors, their stakeholders, and parties in interest; and, most

                     15   importantly, to protect the health and wellbeing of the patients, residents, and other persons who

                     16   are being treated at the facilities operated by the Debtors or who are receiving support services

                     17   provided by the Debtors’ organization and employees. Each First Day Motion is crucial to the

                     18   Debtors’ reorganization efforts and to the health and wellbeing of the patients, residents, and

                     19   other persons relying on the Debtors to provide support services.

                     20           10.     Section I provides an overview of the Debtors’ business operations and corporate

                     21   structure. Section II describes the circumstances that led the Debtors to commence these Chapter

                     22   11 Cases. Section III provides a summary of the First Day Pleadings and factual bases for the

                     23   relief requested therein.

                     24   I.      COMPANY AND BUSINESS OVERVIEW
                     25           11.     CPES is a community human services and healthcare organization and the leading

                     26   provider of person-centered, trauma-informed care. With several residential treatment facilities

                     27   and programs and over 960 employees in Arizona and California, CPES is committed to

                     28
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                      1   promoting independence, growth, community connections, and financial sustainability through

                      2   inspiration, education, and innovation.

                      3           A.      Business Operations
                      4           12.     CPES offers a comprehensive array of behavioral health services, including

                      5   outpatient mental health services, an intensive outpatient therapy program, employee assistance

                      6   program services, individual and group counseling, addiction recovery programs, child and

                      7   family services, foster care, training and support for people with intellectual and developmental

                      8   disabilities, and vocational services. CPES’ counselors and clinicians have a variety of

                      9   experience and specialization. CPES also integrates their counseling services with overall

                     10   healthcare services, and one of CPES’ core competencies is working with people who experience

                     11   multiple and severe co-occurring disorders.

                     12           B.      Corporate and Capital Structure
                     13           13.     Novelles and non-Debtor CPES California, Inc., a California corporation, are

                     14   wholly owned subsidiaries of CPES AZ. The Debtors have no secured debt. Since 1994, the

                     15   shares of CPES AZ have been held by an Employee Stock Ownership Plan (an “ESOP”) for the

                     16   benefit of employees. The ESOP is a qualified retirement plan that is governed by many complex

                     17   rules and regulations. Once an employee meets the eligibility requirements, the employee

                     18   automatically becomes an ESOP Plan Participant. Additional information on the ESOP is

                     19   provided in the Debtors’ Employee Wage Motion (defined below).

                     20   II.     EVENTS LEADING TO THE COMMENCEMENT OF THE CHAPTER 11 CASES
                     21           14.     The financial and operational issues facing CPES are born out of a confluence of

                     22   historical challenges and the recent state-wide shutdowns related to Covid-19. Operating losses

                     23   have plagued CPES for some time due to, among other things, challenging cost structure, low

                     24   reimbursement rates, and the changing healthcare landscape. CPES AZ has been operating at a

                     25   loss for years and can no longer continue to absorb these operating losses and remain a going

                     26   concern.

                     27           15.     In the months prior to the Petition Date, the Debtors held several meetings with the

                     28   state of Arizona, seeking additional state funding and a path for CPES AZ to continue its Arizona
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                      1   operations. Unfortunately, none of these efforts resulted in a viable financial solution. The

                      2   Debtors seek in cooperation with the State of Arizona to enter into and implement a

                      3   comprehensive plan to transition its programs and services in the state of Arizona to new

                      4   operators. The company is working closely with the state of Arizona and the Division of

                      5   Developmental Disabilities to ensure a smooth transition process. Under the current transition

                      6   plan, CPES AZ’s day center programs will be gradually phased out by July 31, 2020, with all

                      7   other programs to be transitioned to new operators by December 31, 2020. The Debtors will

                      8   provide all employees of the Arizona day center programs the opportunity to transition to one of

                      9   the company’s residential treatment facilities. The Debtors anticipate that non-management

                     10   employees at CPES’ Arizona residential facilities and other programs will be offered employment

                     11   by the new operators as part of the transition plan with the state of Arizona.

                     12           16.     The Debtors intend to undertake an orderly wind-down of all of its residential

                     13   facilities and outpatient treatment programs and support services in Arizona. To that end, CPES

                     14   is working closely with the Arizona Department of Developmental Services, regional centers, and

                     15   county mental health agencies to ensure that all the needs of patients and supported persons are

                     16   met. The Debtors’ goal is to transition all of its facilities and programs to other providers without

                     17   closing any facilities to ensure that there is no interruption in patient services, and that the

                     18   employees continue to work at the same locations since they have the knowledge and

                     19   relationships with the patients. The Debtors are committed to an orderly and complete transition

                     20   of its clients and patients to alternate providers before terminating any service or closing any

                     21   facility.

                     22           17.     The Debtors’ goals in these Chapter 11 Cases are to seamlessly transition CPES

                     23   AZ’s programs and services in Arizona to new providers, to efficiently wind-down and close the

                     24   day centers in Arizona and California, and to preserve value for the Debtors’ creditors,

                     25   employees, and other parties-in-interest. While the Debtors are still assessing the Novelles day

                     26   center programs in California, the company believes that its remaining operations in California

                     27   are viable and can be preserved and reorganized through a restructuring plan.

                     28
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                      1           18.     The Debtors seek to preserve and capitalize on the going concern value of the

                      2   company, and critically, to maintain continuity and quality of care for their patients and supported

                      3   persons. I believe the Debtors can successfully reorganize their California operations after

                      4   transitioning their Arizona operations, and, to that end, the Debtors aim to pay their creditors in

                      5   full, and reorganize their California operations under CPES AZ with the ESOP in place.

                      6           19.     In the near term, however, the Debtors’ immediate objective is to continue

                      7   operating their business during the early stage of these Chapter 11 Cases with as little interruption

                      8   or disruption to the Debtors’ operations as possible. In conjunction with the filing, the Debtors

                      9   have filed various first day pleadings to ensure the timely payment of employee wages and

                     10   benefits, to maintain operational and cash management functions, and to otherwise complete a

                     11   smooth transition into operating under the protections of chapter 11. I believe that if the Court

                     12   grants the relief requested in each of the First Day Motions, the prospect for achieving these

                     13   objectives will be substantially enhanced.

                     14
                          III.    FIRST DAY PLEADINGS
                     15
                                  A.      Operational Motions Requesting Immediate Relief
                     16
                                          i.      Emergency Motion of Debtors for the Entry of an Order Pursuant to
                     17                           11 U.S.C. §§ 105(a), 363(b), and 507, and Fed. R. Bankr. P. 6003 and
                                                  6004 Authorizing Debtors to (I) Pay Prepetition Wages, Salaries,
                     18                           Withholding Obligations and Other Compensation and Benefits; (II)
                                                  Maintain Employee Wages and Benefits Programs; and (III) Pay
                     19                           Related Administrative Obligations

                     20           20.     In the Employee Wages Motion, the Debtors seek interim and final authority to

                     21   (i) authorizing the Debtors, in their discretion, to (a) pay prepetition employee wages and salaries,

                     22   and (b) pay and honor employee benefits and other workforce obligations (including remitting

                     23   withholding obligations, maintaining workers’ compensation and benefits programs, paying related

                     24   administration obligations, making contributions to retirement plans, and paying reimbursable

                     25   employee expenses); (ii) authorizing and directing the applicable bank to pay all checks and

                     26   electronic payment requests made by the Debtors relating to the Employee Obligations; and (iii)

                     27   granting such other and further relief as is just and proper under the circumstances. Further, the

                     28   Debtors request that the Court authorize and direct all applicable banks and financial institutions
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                      1   (the “Banks”) to receive, process, honor, and pay all checks issued or to be issued and electronic

                      2   funds transfers requested or to be requested relating to the Employee Obligations.

                      3           21.     As of the Petition Date, the Debtors have approximately 962 employees (the

                      4   “Employees”): CPES AZ has approximately 697 Employees, and Novelles has approximately

                      5   265 Employees. The Debtors’ next payroll is scheduled for Friday, May 1, 2020, and the average

                      6   bi-weekly payroll is approximately $1,209,153.43. The Debtors do not use a third-party payroll

                      7   processor, and payroll is funded on the Wednesday prior to the pay day.

                      8           22.     All of the Employees are owed or have accrued various sums of Prepetition

                      9   Compensation. The Prepetition Compensation remains unpaid on the Petition Date because,

                     10   among other things, (1) the Debtors commenced these Chapter 11 Cases at the end of their

                     11   customary payroll period, and (2) checks previously issued on account of Prepetition

                     12   Compensation and Benefits Program Obligations may not have been presented for payment, or

                     13   may not have cleared the banking system.

                     14           23.     Payment of, and otherwise honoring, the Employee Obligations are necessary to

                     15   prevent employees from terminating their employment with the Debtors and to maintain the

                     16   employees’ morale pending resolution of these Chapter 11 Cases. The Employees covered by the

                     17   Wages Motion are still employed by the Debtors and I believe that the payments to these

                     18   Employees are absolutely necessary. No Employee is owed Prepetition Compensation in excess

                     19   of $13,650 established by section 507(a)(4) of the Bankruptcy Code, and the Debtors do not seek

                     20   to pay any Employee in excess of such amount. The Debtors do not seek to pay prepetition

                     21   claims of insiders at this time. I do not believe payment to the Employees will render the

                     22   Debtors’ estates administratively insolvent for the reasons set forth in the Motion. I believe it is

                     23   essential to pay the Employees as set forth above, or the Debtors’ chances of successfully

                     24   reorganizing will be diminished. I also believe that the Employees and the Debtors will benefit

                     25   greatly from the relief sought in the Wages Motion.

                     26

                     27

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                      1                   ii.     Emergency Motion of Debtors for the Entry of an Order (I)
                                                  Authorizing Debtors to (A) Continue to Operate Their Cash
                      2                           Management System, (B) Maintain Existing Business Forms, and (C)
                                                  Continue Intercompany Arrangements; (II) Granting an Extension of
                      3                           Time to Comply with Requirements of 11 U.S.C. § 345(b); and (III)
                                                  Granting Related Relief
                      4
                                  24.     In the Cash Management Motion, the Debtors request an emergency order:
                      5
                          (1) authorizing the Debtors (a) to continue to operate their existing cash management system (the
                      6
                          “Cash Management System”), as described herein, including the continued maintenance of their
                      7
                          existing bank accounts (the “Bank Accounts”) with BBVA, Bank of the West, Chase Bank,
                      8
                          National Bank of Arizona, Wells Fargo and Mutual of Omaha (the “Banks”), (b) maintain
                      9
                          existing Business Forms (as defined herein), and (c) continue certain intercompany arrangements,
                     10
                          including transferring funds among the Debtors; (ii) granting an extension of time to comply with
                     11
                          the requirements of 11 U.S.C. § 345(b); and (iii) granting related relief. The Debtors also request
                     12
                          that the Court authorize the Banks to continue to charge Bank Fees (as defined in the Cash
                     13
                          Management Motion) and to charge back returned items to the Bank Accounts, whether such
                     14
                          items are dated before, on, or after their commencement of these Chapter 11 Cases.
                     15
                                  25.     In the ordinary course of business, the Debtors use a centralized cash management
                     16
                          system (the “Cash Management System”) to collect funds from their operations and pay operating
                     17
                          and day-to-day expenses. The Cash Management System is carefully maintained through
                     18
                          controls implemented by the Debtors. Through the use of the Cash Management System, the
                     19
                          Debtors are able to monitor the collection and disbursement of funds, forecast revenues and
                     20
                          expenses, and monitor reporting to tax authorities.
                     21
                                  26.     The Cash Management System includes 16 Bank Accounts. Of those Bank
                     22
                          Accounts (i) two primary “operating” Bank Accounts serve as the Debtors’ main revenue
                     23
                          collecting and disbursement accounts (ii) two Bank Accounts serve as the Debtors’ primary
                     24
                          payroll accounts, (iii) two “operating” Bank Accounts that are being phased out, (iv) two payroll
                     25
                          Bank Accounts that are being phased out; (v) one Bank Account is a money market savings
                     26
                          account; (vi) three Bank Accounts serve as deposit accounts for Debtors’ remote thrift stores;
                     27
                          (vii) three Bank Accounts serve as consumer trust accounts; and (viii) one Bank Account that
                     28
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                      1   serves as the Employee Stock Ownership Plan distribution account.

                      2           27.     In the ordinary course of business, intercompany transactions (“Intercompany

                      3   Transactions”), and any intercompany receivables and payables generated pursuant to an

                      4   Intercompany Transaction, “Intercompany Claim”) occur when, among other things (i) CPES AZ

                      5   receives funds into its Operating Account on behalf of Novelles; (ii) CPES AZ makes payments

                      6   and disbursements out of its Operating Account on behalf of Novelles, and (iii) funds are

                      7   transferred between the Debtors.

                      8           28.     Intercompany Transactions and Intercompany Claims between Debtors are

                      9   generally not settled by actual transfers of cash among the Debtors. Instead, the Debtors track all

                     10   Intercompany Transactions and Intercompany Claims electronically filed in their centralized

                     11   accounting system, the result of which are records concurrently on the applicable Debtor’s

                     12   balance sheets and regularly reconciled. The accounting system requires that all general ledger

                     13   entries be balanced at the legal-entity level; therefore, when the accounting system enters an

                     14   intercompany receivable on the entity’s balance sheet, it also automatically creates a

                     15   corresponding intercompany payable on the applicable affiliate’s balance sheet. This results in a

                     16   net balance of zero when consolidating all intercompany accounts.

                     17           29.     The Debtors maintain records of all transactions processed through their Cash

                     18   Management System. During these Chapter 11 Cases, the Debtors will keep records of any

                     19   postpetition Intercompany Transactions and implement any additional accounting procedures

                     20   required to identify and distinguish between prepetition and postpetition Intercompany

                     21   Transactions so that claims arising from postpetition Intercompany Transactions can be afforded

                     22   administrative expense priority.

                     23           30.     The Debtor also uses in the ordinary course of business company-paid credit cards

                     24   issued by American Express (collectively, the “Credit Cards”) for items and services best

                     25   purchased with credit. The Debtors regularly pay down the Credit Cards’ balance to enable

                     26   access to Credit Cards to use in the ordinary course of business. In general, the Debtors’ Credit

                     27   Cards are used for various corporate expenses including, but not limited to, certain travel, meals,

                     28   vehicle maintenance, and other required business expenses that are essential to the Debtors’
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                      1   operations.

                      2           31.     The Debtors’ Employees also use the Credit Cards as needed for transportation

                      3   costs and other essential expenditures. As of the Petition Date, the Debtors’ Employees use, in

                      4   the aggregate, 185 Credit Cards issued by American Express. The Debtors receive separate

                      5   statements for Novelles and CPES AZ. The Credit Card statements are reviewed and paid

                      6   monthly by the Debtors out of the Novelles and CPES AZ Operating Accounts (No. x5045 and

                      7   No. x4388). The Debtors’ Employees are not liable for expenses incurred under the Credit Cards.

                      8           32.     On average, Novelles incurs approximately $16,000.00 per month and CPES AZ

                      9   incurs approximately $135,000.00 per month on the Credit Cards. The Debtors believe that as of

                     10   the Petition Date, $150,000.00 relating to prepetition purchases is outstanding on account of the

                     11   Credit Cards. The Debtors request authority to continue to make all payments to American

                     12   Express in connection with the Credit Cards on a postpetition basis in the ordinary course of

                     13   business and consistent with the Debtors’ past practices.

                     14           33.     Each form of relief requested in the Cash Management Motion will help ensure the

                     15   Debtors’ smooth transition into chapter 11 and prevent the possible disruptions and distractions

                     16   that could otherwise divert the Debtors’ attention from more pressing matters during the initial

                     17   days of these Chapter 11 Cases. For these reasons and as more thoroughly provided in the

                     18   Motion, I believe, and the Debtors submit, that the emergency relief requested in the Motion is in

                     19   the best interest of the Debtors, their estates, and creditors, and should therefore be approved.

                     20
                                          iii.    Emergency Motion of Debtors for Interim and Final Orders
                     21                           (I) Authorizing Debtors to (A) Continue Insurance Programs
                                                  and (B) Pay All Obligations with Respect Thereto; and
                     22                           (II) Granting Related Relief

                     23           34.     By the Insurance Motion, the Debtors seek entry of an order (i) authorizing the

                     24   Debtors (a) to continue their Insurance Programs (as defined below) in accordance with their

                     25   applicable insurance policies and agreements and to continue to perform their obligations with

                     26   respect thereto during these Chapter 11 Cases, and (b) pay prepetition obligations arising under

                     27   the Insurance Programs, if any, and (ii) granting related relief.

                     28           35.     In the ordinary course of business, the Debtors maintain workers’ compensation
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                      1   insurance and third party liability, property, and other insurance programs (each, an “Insurance

                      2   Program”) and incur certain obligations to pay premiums and other obligations related thereto,

                      3   including, but not limited to, broker and advisor fees, taxes, other fees, and deductibles

                      4   (collectively, the “Insurance Obligations”), in accordance with or relating to their respective

                      5   insurance policies (each, an “Insurance Policy”) through several insurance carriers (each, and

                      6   “Insurance Carrier”). The Debtors’ Insurance Programs include: (i) coverage of workers’

                      7   compensation and employer’s liability (the “Workers’ Compensation Insurance”); (ii) coverage of

                      8   potential third-party liability in connection with Debtors’ business operations (the “General

                      9   Liability Program”); (iii) coverage of the Debtors’ vehicles (the “Automobile Liability

                     10   Program”); (iv) coverage of the Debtors’ real and personal property (the “Commercial Property

                     11   Liability Program”); (v) coverage of directors’ and officers’ liability, management liability,

                     12   fiduciary liability, and professional liability (the “D&O Liability Program”); (vi) coverage of

                     13   potential professional liability claims (the “Professional Liability Program”); (vii) coverage of

                     14   potential liability in connection with cyber security related to Debtors’ business operations (the

                     15   “Cyber Program”); (viii) coverage of potential liability in connection with criminal acts related to

                     16   the Debtors’ business operations (“Crime Program”); and (ix) umbrella and excess coverage for

                     17   various casualty Insurance Policies, as described below (the “Excess Liability Program”).

                     18           36.      The Debtors’ premiums for their General Liability and Excess Liability Insurance

                     19   programs are financed through First Insurance Funding (the “Premium Finance Agreement”).

                     20   The total amount financed by the Debtors, including all finance charges, was approximately $1.9

                     21   million. Under the terms of the Premium Finance Agreement, the Debtors agreed to make ten

                     22   equal payments for $194,263.36, with the first installment being due on February 1, 2020. To

                     23   date, the outstanding amount owed by Debtors under the Premium Finance Agreement is

                     24   $1,359,843.52.

                     25           37.      The Debtors also retain the services of the Insurance Broker (as defined below) in

                     26   connection with maintaining the Debtors’ Insurance Programs. The Insurance Programs and the

                     27   role of the Insurance Broker are discussed below.

                     28           38.      The Debtors maintain Workers’ Compensation Insurance through a policy with
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                      1   Surety Insurance (the “Workers’ Compensation Insurance Policy”). The coverage period is

                      2   October 2, 2019 through October 2, 2020, and the annual premium is approximately $391,492.68,

                      3   which was paid in full prior to the Petition Date. Accordingly, to the best of their knowledge, the

                      4   Debtors do not owe any prepetition amounts on account of the Workers’ Compensation Insurance

                      5   as of the Petition Date.

                      6           39.     Under the Workers’ Compensation Insurance Policy, Sentry Insurance is obligated

                      7   to pay all or part of a Workers’ Compensation Claim directly to an employee, his or her medical

                      8   providers, or his or her heirs or legal representatives. As of the Petition Date, the Debtors are not

                      9   aware of any open or potential Workers’ Compensation Claims. Although unlikely, it is possible

                     10   that an event giving rise to an obligation of Sentry Insurance to make a payment on account of a

                     11   Workers’ Compensation Claim – for example, for injury or disease of an employee – could have

                     12   occurred prepetition without the Debtors’ knowledge. Accordingly, out of an abundance of

                     13   caution, the Debtors seek modification of the automatic stay (i) to the extent necessary to permit

                     14   the Debtors’ employees to proceed with any Workers’ Compensation Claims they may have

                     15   under the Workers’ Compensation Insurance Program and (ii) to allow Sentry Insurance to pay

                     16   such Workers’ Compensation Claims and related costs.

                     17           40.     As of the Petition Date, Debtors owe $1,359,843.52 under the Premium Finance

                     18   Agreement. Pursuant to the terms of the Premium Finance Agreement, the Debtors have a

                     19   payment due on May 1, 2020 for $194,263.36. Except as set forth herein, Debtors do not believe

                     20   that they owe any amounts with respect to the prepetition Insurance Obligations, including

                     21   amounts owed to the Insurance Broker, and do not expect that any other prepetition Insurance

                     22   Obligations will come due in the first 21 days of these Chapter 11 Cases. However, out of an

                     23   abundance of caution, the Debtors are seeking relief to pay (i) any such prepetition amounts, to

                     24   the extent that it is later determined that such amounts are owed under the Insurance Policies, and

                     25   (ii) any postpetition amounts that become due during these chapter 11 cases in the ordinary course

                     26   of business.

                     27           41.     I believe that the continuation of the Insurance Policies is essential to the operation

                     28   and preservation of the value of the Debtors’ operations, and it is my understanding that it is
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                      1   required under the U.S. Trustee Guidelines, the federal laws and regulations applicable to the

                      2   Debtors’ businesses, and the laws of the States of Arizona and California, as well as certain of the

                      3   Debtors’ various contractual commitments. The Debtors, as employers and operators of

                      4   residential and behavioral health programs, must maintain workers’ compensation insurance

                      5   coverage. See, e.g., Cal. Lab. Code § 3700 (requiring workers’ compensation coverage). Also, as

                      6   a practical and legal matter, the Debtors cannot provide support services and continue to operate

                      7   their residential treatment programs without professional and general liability insurance, among

                      8   other coverage.

                      9                   iv.     Emergency Motion of Debtors for an Order (I) Approving Debtors’
                                                  Proposed Form of Adequate Assurance of Payment to Utility
                     10                           Companies; (II) Establishing Procedures for Resolving Objections by
                                                  Utility Companies; (III) Prohibiting Utility Companies from Altering,
                     11                           Refusing, or Discontinuing Service; and (IV) Granting Related Relief
                     12           42.     In the Utilities Motion, the Debtors seek an emergency order (i) approving the

                     13   Debtors’ proposed form of adequate assurance of payment to the Utility Companies (as defined

                     14   below); (ii) establishing procedures for resolving objections by the Utility Companies relating to

                     15   the adequacy of the proposed adequate assurance; (iii) prohibiting the Utility Companies from

                     16   altering, refusing, or discontinuing service to, or discriminating against, the Debtors on the basis

                     17   of the commencement of these Chapter 11 Cases; and (iv) granting related relief.

                     18           43.     To operate their business and manage their properties, the Debtors obtain

                     19   telecommunications, information technology services, water, fuel and power, electricity, and

                     20   other utility services (collectively, the “Utility Services”) from a number of utility companies

                     21   (collectively, the “Utility Companies”).

                     22           44.     Uninterrupted Utility Services are essential to the Debtors’ ongoing operations

                     23   and, therefore, the success of the Debtors’ reorganization. Should any Utility Company alter,

                     24   refuse, or discontinue service, even briefly, the Debtors’ business operations could be severely

                     25   disrupted. The Debtors have significant operations in California and Arizona. Interruption of the

                     26   Utility Services provided at any of their locations would disrupt necessary communication and

                     27   coordination between the Debtors’ employees and the Debtors’ vendors, customers, and various

                     28   regulatory authorities, and would prevent the provision of necessary support to these same parties.
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                      1   Such interruption would negatively impact the Debtors’ reorganization efforts and parties-in-

                      2   interest.

                      3           45.     The Debtors have a good historical payment record with the Utility Companies.

                      4   To the best of the Debtors’ knowledge, there are no material defaults or arrearages of any

                      5   significance for the Debtors’ undisputed invoices for prepetition Utility Services, other than

                      6   payment interruptions that may be caused by the commencement of these Chapter 11 Cases.

                      7   Based on a monthly average for the 12 months prior to the Petition Date, the Debtors estimate

                      8   that their cost of Utility Services for the next 30 days will be approximately $85,000.

                      9           46.     To provide the Utility Companies with adequate assurance pursuant to section 366

                     10   of the Bankruptcy Code, the Debtors propose to deposit $47,000.00, which is equal to two weeks’

                     11   cost of Utility Services, calculated using the historical average for such payments during the past

                     12   12 months (the “Adequate Assurance Deposit”), into a newly created, segregated account for the

                     13   benefit of the Utility Companies (the “Utility Deposit Account”). The Adequate Assurance

                     14   Deposit may be adjusted by the Debtors if the Debtors terminate any of the Utility Services

                     15   provided by a Utility Company, make other arrangements with certain Utility Companies for

                     16   adequate assurance of payment, determine that an entity listed on the Utility Services List is not a

                     17   utility company as defined by section 366 of the Bankruptcy Code, or supplement the Utility

                     18   Services List to include additional Utility Companies. The Adequate Assurance Deposit will be

                     19   held by the Debtors in the Utility Deposit Account for the benefit of the Utility Companies on the

                     20   Utility Services List during the pendency of these Chapter 11 Cases. No liens will encumber the

                     21   Adequate Assurance Deposit or the Utility Deposit Account.

                     22           47.     The Utilities are essential to the Debtors’ ongoing operations. Any interruption in

                     23   service of the Utilities would negatively affect the Debtors’ businesses and jeopardize their ability

                     24   to reorganize, which directly impacts creditors’ recovery in these Chapter 11 Cases. Thus, it is

                     25   critical that the Utilities continue uninterrupted in these Chapter 11 Cases.

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                      1           B.      Administrative Motions

                      2                   i.      Emergency Motion of Debtors for an Order Limiting Scope of Notice;
                                                  Memorandum of Points and Authorities
                      3
                                  48.     By the Motion to Limit Notice, the Debtors seek the entry of an order authorizing
                      4
                          them to limit the scope of service of all notices, motions, or applications, including, but not
                      5
                          limited to, the Limited Notice Matters. The Limited Notice Matters are described in detail in the
                      6
                          Motion to Limit Notice, and generally comprise all other pleadings, papers, and requests for relief
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                          or other order of the Court, except for notice of the following proceedings: (i) the date fixed for
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                          filing proofs of claim; (ii) the time fixed for filing objections to any disclosure statement and any
                      9
                          hearing to consider approval of any disclosure statement; (iii) the time fixed for accepting,
                     10
                          rejecting, or objecting to confirmation of a plan or any modification thereof and the hearing
                     11
                          thereon; (iv) the entry of an order confirming a plan; and (v) a hearing regarding the dismissal or
                     12
                          conversion of these Chapter 11 Cases.
                     13
                                  49.     Specifically, the Debtors propose that notices regarding the Limited Notice
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                          Matters that will be heard on regular notice be served by first class mail upon only: (a) the Office
                     15
                          of the United States Trustee; (b) the top 20 creditors holding general unsecured claims against
                     16
                          each of the Debtors, unless and until a Committee is appointed and it retains counsel, then in such
                     17
                          event, to counsel for the Committee; (c) the United States of America, by service to the Attorney
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                          General of the United States and the United States Attorney for the Central District of California,
                     19
                          and any department or agency of the United States of America that is affected by the Limited
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                          Notice Matter until counsel for the United States makes an appearance on behalf of that
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                          department or agency, and, thereafter on that counsel; (d) the State of California, by service to the
                     22
                          Attorney General of California, and any department or agency of the State that is affected by the
                     23
                          Limited Notice Matter until counsel for the State makes an appearance on behalf of that
                     24
                          department or agency, and thereafter on that counsel; (e) parties that file with the Court and serve
                     25
                          upon the Debtors requests for notice of all matters in accordance with Bankruptcy Rule 2002(i);
                     26
                          and (f) any party with a pecuniary interest in the subject matter of the particular Limited Notice
                     27
                          Matter or its counsel (collectively, the “Limited Service List”). The Debtors further propose that,
                     28
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                      1   to the extent necessary, notice and service to current and former employees be by email.

                      2           50.     The Debtor’s Creditor Matrix has thousands of creditors. Limiting notice in the

                      3   fashion described in the Motion to Limit Notice will prevent the unnecessary waste of time and

                      4   resources required to serve notice of certain pleadings and other documents on all creditors, and

                      5   will allow the Debtors to conduct these Chapter 11 Cases in a more efficient manner so that they

                      6   can focus on caring for their patient and supported persons, the orderly transition of CPES AZ’s

                      7   programs and services, and winding down the Debtors’ day center programs and facilities.

                      8           51.     Limiting notice will not materially prejudice any party because parties will have an

                      9   opportunity to respond to the Motion to Limit Notice and to request special notice in the Debtors’

                     10   Chapter 11 Cases. Furthermore, any party with a pecuniary interest in the matters affected by the

                     11   Motion to Limit Notice will be served by the Debtors as a matter of course. Requiring notice to,

                     12   and service upon, so many parties, therefore, would substantially augment the cost and

                     13   administrative burden of the Debtors, without conferring any meaningful benefit to the Debtors’

                     14   estates, and thus would diminish the assets ultimately available for the operations of the Debtors

                     15   and distributions to creditors. Further, allowing service of an emergency motion by overnight

                     16   delivery in the instances outlined above provides parties on the Limited Service List with

                     17   adequate notice and preserves the Debtors’ ability to bring such matters on a timely and efficient

                     18   basis. Therefore, the relief requested in the Motion to Limit Notice will not prejudice any party

                     19   with an interest in these bankruptcy proceedings, and ultimately, due to cost savings, will benefit

                     20   creditors of the Debtors’ estates.

                     21                   ii.     Emergency Motion of Debtors for an Order Authorizing Procedures to
                                                  Maintain and Protect Confidential Client Information; Memorandum
                     22                           of Points and Authorities
                     23           52.     The Debtors provide community-based behavioral health services, substance abuse

                     24   treatment, foster care, and intellectual and developmental disability supports. In the ordinary

                     25   course of their business, the Debtors have access to and receive “protected health information”

                     26   and other sensitive data relating to current and former clients, which the Debtors are required to

                     27   confidentially maintain pursuant to HIPAA. Notwithstanding, some of the Debtors’ current and

                     28   former clients could potentially hold actual or contingent claims against the Debtors’ estates, and
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                      1   as such, under Bankruptcy Code section 521(a), the Debtors have a duty to list all such creditors

                      2   on the Debtors’ mailing matrices and bankruptcy schedules.

                      3           53.     In addition, I am informed and believe that (a) the Debtors are required to serve

                      4   notice of the filing of its case, a bar date notice, and other critical case related documents on

                      5   parties with an interest in the case or who may have a claim against the Debtors, (b) to show

                      6   proper notice has been provided, the Debtors are required to file service lists showing the names

                      7   and addresses of those who have been served, and (c) former patients and supported persons are

                      8   usually among the parties entitled to such notice. However, the Privacy Rule of the Health

                      9   Insurance Portability and Accountability Act of 1996 (“HIPAA”), Public Law 104-191, protects

                     10   all individually identifiable health information, which includes information such as the names or

                     11   addresses of current or former patients. Thus, HIPAA’s requirements to protect the privacy and

                     12   security of protected health information require that the names and addresses of current and

                     13   former patients not be publicly disclosed. The Debtors are covered entities under HIPAA and

                     14   must comply with HIPAA’s requirements to protect the privacy of health information. However,

                     15   I am informed and believe that HIPAA permits the use and disclosure of protected health

                     16   information, without an individual’s authorization or permission, as part of a judicial proceeding,

                     17   if the information is disclosed pursuant to a court order.

                     18
                                          iii.    Emergency Motion of Debtors for the Entry of an Order Extending
                     19                           Time to File Schedules of Assets and Liabilities and Statements of
                                                  Financial Affairs Pursuant to 11 U.S.C. §§ 105(a) and 521(a), Fed. R.
                     20                           Bankr. P. 1007(c), and Local Rule 1007-1(b)

                     21           54.     The Debtors require more time to fully analyze their assets and liabilities with the

                     22   assistance and advice of counsel in order to prepare full and accurate schedules of assets and

                     23   liabilities and statements of financial affairs (collectively, the “Schedules and Statements”), and

                     24   by this motion have requested a 30-day extension of the deadline to file the Schedules and

                     25   Statements from May 8, 2020, to June 7, 2020.

                     26           55.     I believe that this extension is necessary to allow CPES to prepare the Schedules

                     27   and Statements and that no creditors will be prejudiced by the extension of time requested. As

                     28   discussed, the Debtors operate a robust mental health care system offering a full range of
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                      1   community-based behavioral health services, substance abuse treatment, foster care, and

                      2   intellectual and developmental disability supports throughout California and Arizona. The

                      3   Debtors’ management have dedicated the approximate first week of these Chapter 11 Cases to the

                      4   critical tasks of ensuring that the Debtors can continue to use their cash management program,

                      5   meet their payroll obligations, and have sufficient funds and authority to use funds in order to

                      6   operate their programs and facilities during the transition period, and that the Debtors are in

                      7   compliance with all of the Court’s orders and requirements. During this same time period, the

                      8   Debtors must also prepare the 7-Day Package for submission to the Office of the United States

                      9   Trustee, which will require significant time and attention. The Debtors are also preparing other

                     10   emergency motions, employment applications and applications for compensation, and will be

                     11   responding to inquiries regarding these bankruptcy cases. All the while, the Debtors must attend

                     12   to various matters critical to the Debtors operations and to administration of these Chapter 11

                     13   Cases—most notably, the transition plan for the Debtors’ Arizona programs and the shutdown

                     14   plan for the Debtors’ day center programs. Therefore, I believe that an extension of the deadline

                     15   to file Schedules and Statements until June 7, 2020, is necessary to allow CPES to prepare these

                     16   documents while continuing to operate their residential facilities and provide support services to

                     17   its clients.

                     18
                                          iv.     Debtors’ Application Pursuant to 28 U.S.C. § 156(c) for Appointment
                     19                           of BMC Group, Inc. as Claims and Noticing Agent

                     20           56.     The Debtors seek to appoint BMC Group, Inc. (“BMC”) as claims and noticing

                     21   agent (“Claims and Noticing Agent”) in these Chapter 11 Cases pursuant to 28 U.S.C. § 156(c).

                     22   The Debtors request entry of an order appointing BMC as the Claims and Noticing Agent for the

                     23   Debtors and their Chapter 11 Cases, including assuming full responsibility for the distribution of

                     24   notices and the maintenance, processing, and docketing of proofs of claim filed in the Debtors’

                     25   Chapter 11 Cases.

                     26           57.     As the Debtors’ Claims and Noticing Agent, BMC would assume full

                     27   responsibility for the distribution of statutory notices to creditors and other parties in interest and

                     28   the maintenance, processing and docketing of proofs of claim filed in these Chapter 11 Cases.
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                      1   Given the complexity of these Chapter 11 Cases and the number of creditors and other parties in

                      2   interest involved, I believe that retaining BMC as the Claims and Noticing Agent in these Chapter

                      3   11 Cases will maximize the value of the Debtors’ estates for all of its stakeholders. Accordingly,

                      4   on behalf of the Debtors, I respectfully request that the Court approve the Debtors’ Application to

                      5   appoint BMC as the Claims and Noticing Agent in these Chapter 11 Cases.

                      6   IV.     CONCLUSION
                      7           58.     I hereby certify that the foregoing statements are true and correct to the best of my

                      8   knowledge, information and belief, and respectfully request that all of the relief requested in the

                      9   First Day Motions be granted, together with such other and further relief as is just.

                     10                               [Remainder of Page Intentionally Left Blank]

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                      I                I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true
                      2        and correct to the best of my knowledge, information and belief.
                      3                Respectfully submitted this 27th day of April, 2020.
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I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
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A true and correct copy of the foregoing document entitled (specify): DECLARATION OF MARK G. MONSON IN
SUPPORT OF EMERGENCY FIRST DAY MOTIONS will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
4/27/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Steve Ordaz, BMC Group, Inc., email: sordaz@bmcgroup.com; tfeil@bmcgroup.com
Brian D. Fittipaldi, Office of the US Trustee, email: brian.fittipaldi@usdoj.gov
United States Trustee, email: ustregion16.nd.ecf@usdoj.gov




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __4/27/2020_________, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.
Honorable Deborah J. Saltzman
U.S. Bankruptcy Court
255 E. Temple St, Ste 1634
Courtroom 1639
Los Angeles, CA 90012
                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 4/27/2020                       Susan Carlson                                                  /e/ Susan Carlson
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
